                 Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 1 of 27




                                                    NovaFund
                                                      Advisors,LLC
                                                                                    November 21, 2016

                Capitala Group, LLC
                4201 Congress St. Suite 360
                 Charlotte, NC 28209


                Attention:         Mr. Joe Alala



                                                                                   Re: Capitala Private Credit Fund   V   LP



                Reimbursement of T&E expenses through November, 2016
                                                                                                        $4,838.97




                             Business   Name:         MD Global Ptrs.
                                                      825 Third Ave.
                                                      New York, NY 10022

                         Bank Name:                   Chase Bank

                         Bank Address:                850 Third Ave
                                                      New York, NY 10022

                        ABA
                               Routing    #:          021000021
                                               Personal Identifying Information
                         Account No.:


               Please contact me if you need
                                             anything further or have any questions on the above.

               Thank you for your consideration.


                                                                                  Very truly   yours,




                                                                                  Mark McAndrews
                                                                                   203-831-0111




CONFIDENTIAL                                                                                                                   CAP_0025885
               Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 2 of 27




                                           Capitala
                                    Expense    Summary
                                          Nov, 2016

                        Name              Reference      Amount
               Kallie   Hapgood           KH   11-2-16     241.74
               Bryan    Kelley            BK             2,045.38
               Bryan    Kelley            BK             2,554.85




                                  Total                  4,838.97




CONFIDENTIAL                                                                        CAP_0025886
                                             Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 3 of 27




                                                                                                    Expense and Travel Report
   [NovaF
                                                              ond]
                                    Name                             Kail                                                                    From date      Tue., October 18, 2016
                                                                                                                                           __to   date      Tue., October 18,
                                 Positionfitie                       Principal
                             Social security
                                                  #
                                                   #                           —                                                           Dealito charge     |Capitalia
                                 Telephone



                                                                                                                      _|Meetings with   NEPC, New Hampshire
                                                                                                    used
                                                                                        Business      purpose
                                    First class     or business class travel was                                                    .                           TO BE      REIMBURSED
                                                                                                                                            Notes
                                    Expenses      included costs for an accompanying family member
    travel




                                                                                         Tue
                     Expense ffem
     NovaFund-paid




                        Transportation
                     Auto rental,             gasoline

                     Taxi
                     Hate!
                      Valetfaundry
                      Telephone
                      Other      (biz    ctr,   pay   tv,   etc.)
                                                                                                                                          Total NovaFund-paid travel expenses              241.74


                                                                                                                                                                                             0.66
                                                                      breakfast

    =|
                        Nova-paid meals for
                             self only YANG.
                                         (incl.   tips)                   dinner
                                                                                                    +.                                                                                       2
                                                                                                                                                                                             300
                                                                                                                                          Total NovaFund-paid      mealexpenses


                                                                                                           Business    purpose




                     |All   expenses were incurred



                             Wher grace
                            Ka

                                    apgood
                                        if
                                                                     in   connection with Firm     Susiness.




                                                                                                                                              ["Gashadvance
                                                                                                                                             [Gastradvance        [|
CONFIDENTIAL                                                                                                                                                                            CAP_0025887
                           Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 4 of 27
      THE  HERTZ            CORPORATION
       Phone:                 800-654-4173                                                                            Rental Agreement No:               M74524516
       Web:                   wew   hertz     .com                                                                    Date:                              10/19/2016
                                                                                                                       Document:                          926002325680

       Direct        All Inquiries           To:                             CHARGE   DETAIL              Renter:                             KALLEIE     HAPGOOD
               THE    HERTZ       CORPORATION                                                             Account No.:                     Personal Identifying
               PO    BOX    26120                                                                         CDP       No.:                   Information
                OKLAHOMA      CITY,     OK   73126-0120                                                             Name:




                     MRS     KALLZE          HAPGOOD
                      NOVAFUND          ADVISORS
                     i7 OLD KINGS HIGHWAY                  SOUTH
                     DARIEN, CY 06820




       RENTAL REFERENCE                                                                    RENTAL DETAILS
       Rental Agreement No: M?74524516                                                     Rate Plan:    IN: OAUDL      OUT:                           CAUD1
       Reservation ID;  Personal Identifying                                               Rented On:     10/17/2016.16:42                            LOC#      596303
       Frequent            Traveler: Information                                                                           DARIEN,    CT
                                                                                               Returned     On:            10/19/2016 08:00            LOCH     £96303
                                                                                                                           DARIEN,    CT
                                                                                           Car     Description:                       N/L ALTIMA         VMY3086
                                                                                           Veh.    No.:                                7789076
                                                                                           CAR     CLASS     Charged:          F             MILEAGE             In:     13,653
                                                                                                              Rented:          FG                              Out:      13,220
                                                                                                              Reserved:        F                         Driven:              473

       MISCELLANEOUS                    INFORMATION                                       RENTAL            CHARGES
      CC AUTH:  083617                  DATE: 2016/10/17         AMT:   281,00             DAYS                                      26       65.00
                                                                                           SUBTOTAL                                                              130.00

                                                                                               CONCESSION   FEE RECOVERY                                              9.146
                                                                                           ENERGY      SURCHARGE                                                    1.49
                                                                                           MOTOR      VEHICLE LEASE TAX                                             2.00
                                                                                           TAX                                                                     17.76



                                                                                           TOTAL      CHARGES                                                    360.35       USD
      Gold           Plus Rewards              Points
       Earned        thie rental:             130




      E-RETURN                RECEIPT

                                                                                                                     THANK     YOU    FOR    RENTING     FROM      HERTZ




      ALL      CHARGES       HAVE BEEN BILLED TO          YOUR   ACCOUNT.                                       i
                                                                                                                    Rental Agreement No:               M74524516
                                                                                                                    Date:                              10/25/2016
                                                                                                                     Document;                          926002325680

      Direct         All Inquiries           To:                                                            Renter:                             KALLIE         HAPGOOD

      THE    HERTZ CORPORATION                                                                              Account No.:                    Personal Identifying Information
      PO    BOX 26120
       OKLAHOMA           CiTY,    OK   73126-0120
      UNITED         STATBS




      Phone:                 800-654-4173
      Web:                   wow hertz. com                                                       TOTAL      CHARGKS                                                   160.35     wep
                                                                                                                                                                                        |




      CCMtAd                            GC




CONFIDENTIAL                                                                                                                                                                  CAP_0025888
               Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 5 of 27




                    MASSACHUSETTS TURNPIKE                                          TATE O.ARE
                                                                                    HOSTON              HARBOR

                                                                                    RECE                            K4
                                     RECEIPT
                                                                                    Blin        |       EME:

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                     MASSACHUSETTS                    TURNPIKE                            SAK   HA MBIT
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                         CL         TOLL    DATE PLZCOLL              NO.




                     MASSACHUSETTS                     TURNPIKE

                                     RECEIPT


                         CL         TOLL    DATE PLZCOLL              NO.
                          Ab   SR   dite dis.   th    Poa        cS       ecSescs




CONFIDENTIAL                                                                                                        CAP_0025889
                                 Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 6 of 27


                                                                                                                                                                                         Page        1



                                                                                          Expense and Travel Report                                                                         of       4




                                 Name                        Bryan D. Kelley                                                               From date          Thu., September 15, 2016
     Employee




                           Positionditle                     Principal                                                                          To date       Fii., September 16, 2016
                        Social
                                  security #
                           Telephone       }                                                                                             Deal   to   charge   CAPITALIA




                                    Los Angeles, CA                            Business   purpose   Meetings                    with PacLife, Cliffwater and Wiishire
                                 or business class travel was used
                             First Glass                                                                                                                       TO BE      REIMBURSED
                                                                                                                                          Notes
                        Expenses included costs for an accompanying family member
     ©          |Expense item                          Thu         Fri

    B                                                  9/15       9/16
    &            Transportation                                                                                                                                                           1,358.20
                [Auto rental,       gasoline                                                                                                                                               376.75
    we          {Taxi
                                                                                                                                                                                           105.16
    2 [Hotel                                                                                                                                                                               625.14
    & [Valelfiaundry                                                                                                                                                                          0.00
                 Telephone                                                                                                                                                                   0,00
                Offer (biz       cir,   pay    tv,   etc.)                                                                                                                                  41.45




                 Nova-paid meals for
                 self only (incl. fips)
                                                                                                           Other Easiven-paid




                                                                                                                                Se
CONFIDENTIAL                                                                                                                                                                      CAP_0025890
                            Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 7 of 27




           CORPORATE                                TRAVEL


       Thank you for choosing Ovation Corporate Travel.


      We       value your input and         welcome      yau to provide   your feedback here.

           ravet Summary                         Agency Locator:          QOXXECG
       traveler
           IKELLEY/BRYAN       D

       Reference            number by traveler: Not Applicable

      Date                     From/To          Flight/Vendor                              Depart/Arrive      ClassiTypa           Status
       09/15/2016              JFK-LAX          BE 223                                    08:40 AM/11:43 AM   Economy              Confirmed
       09/15/2016              LAX              Hertz Rent-A-Car                                              Full Size 2/4 Boor   Confined
       (09/16/2016
      Qe
                               LAX-JFK          B6 524                                    02:40 PM/10:38 PM   Economy              Confirmed



           ravel     Assistance Contact Information
      For        assistance 24 hours a day, please call your dedicated number at 646-582-1805.
                travel
      After business hours, weekends and holidays, you             will
                                                               have the option to be transferred to our after hours travel team.
      [To reach our after hours team
                                     directly in case of emergency, you may call 800-876-4922. Your access code is FEOC,


       ravel Documentation                      Requirements
                A valid, government-issued photo ID
                                                    is required for all damestic          travel.
           »

                                                                                    air




           IR    - Thursday, September          15 2016
           etblue        Flight B6223    Economy Ctass
      Depart:                            John F Kennedy inti, TERMINAL 5
                                          New York, New York, United States
                                         08:40 AM Thursday, September 15 2016
      Arrive:                            Los Angeles International Airport, TERMINAL 3
                                         Los Angeles, California, United States

                                          41:43 AM Thursday, September 15 2016
      Duration:                          6 hour(s) and 3 minute(s) Non-stop
      Status:                            Confirmed - Jetblue Booking Reference: MXXSHC
      Equipment:                         Airbus Industrie A318 / A319       / A321
     Seat:                               17E Confimed
     Meal:                               Meal
     FF Number:                Personal Identifying Information
                                         For additional information and check in, 24 hours in
                                                                                              advance, click on the airline link below.
                                           http://www.jetblue,com/




CONFIDENTIAL                                                                                                                                   CAP_0025891
        CAR

        Hertz
               -       Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 8 of 27
                    Thursday, September 45 2016
                    Rent-A-Car
        Pick Up:                        9000 Airport Blvd
                                        Los Angeles, California    900450000
                                         United     States
                                         11:43 AM Thursday, September 15 2016
        Tel:                            +1 (310)  568-5100
        Fax;                            +1 (310)       568-3461
        Drop Off:                       9000 Airport Blvd
                                        Los Angeles, California   900450000
                                         United     States
                                        02:10 PM Friday, September 16 2016
       Tel:                             +4 (310) 568-5100
        Fax:                            +1 (3140)     568-3464
        Type:                           Full Size 2/4 Door
        Status:                          Confinned
         Confirmation:                    H05442013A2GOLD
        Dally Rate:                     USD 38.18 plus tax and/or additional fees
        lAdditianal fees:               USD 28.66
        Estimated      Total:           USD 92.8 (for 1 cays and 2 extra hours)
        included  mileage:              Untimited

        Corp. Discount:                 1917757
                                   Personal Identifying
        Frequent Renter
                                   Information

        LIR    ~
                   Friday, September 16 2016
       Jetblue        Flight B6524 Economy Class
       Depart:                         Los Angeles international Airport, TERMINAL 3
                                       Los Angeles, California, United States

                                       02:10 PM Friday, September 16 2016
       Arrive:                         John F Kennedy Intl, TERMINAL 5
                                        New York, New York, United States
                                        10:38 PM Friday, September 16 2016
       Duration:
       Status:
        Equipment:
                                       Confirmes    -
                                       5 hour(s) and 28 minute(s) Non-stop
                                                    Jetblue Booking Reference:
                                       Airbus Industrie A318 / A319 / A320 / A321
                                                                                    MXXSHC


       Seat:                           14F Confirmed
       Meal:                           Meal
      FF Number:
                                Personal Identifying Information
                                                                              check in,      hours in advance,   click   on the airline tink below.
                                        Attps/iwww.jetblue.com/


       Ce                  ac
      Total invoiced Amount: $769.20 USD
                                                                                i




       [Transaction       Date: September 09, 2016
      Ticket          Information
      Ticket Number:    2797860228428
      Amount: $731.20 USD
      Fortn of Payment: Personal Identifying
                                Information
      This     ticket information applies to the following travel segment(s):
      etblue Flight 223 from New York to Los Angeles on September 15
      Netblue Flight 524 from Los
                                  Angeles to New York on September-16



      ‘Transaction Date: September 09, 2016
      Service Fee information
      Service Fee Number: Personal Identifying
      Service Fee Amount: Information
     Form of Payment:   CA'***""+9939
     pervice Fee Description: Air Ticket




CONFIDENTIAL                                                                                                                                          CAP_0025892
                            Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 9 of 27
      information Specific to this Trip
             »
                 Any changes      or cancellations       to your   Jetblue    reservation     must be made prior to the scheduled departure. Otherwise, the   ticket
       becomes          invalid   with no residual value.

             *
                 You have purchased a non-refundable fare on Jetblue. Any changes are subject to change fee plus any fare increase.




       Other information and Remarks
         +
                 Please sign      up
                                       far trip alerts at     www.ovationtravel.com/alerts.


                 Upgrades   that        incur additional fees or charges are     not   eligibie   for reimbursement, per company         policy.

         +
                 Please reconfirm ail flight times prior to-your departure.

                 Please notify us of any trip cancellation so your tickets may be refunded or                 togged   for   future   use.


         *
                 Some   hotels    may impose a penalty for early          checkout.




      Important Health Advisory
      GDC has issued travel notices for people traveling to regions where Zika virus transmission is
                                                                                                     ongoing. For more information please
      visit hitp:/iwww.cdc.govizika,




       Reservation           management           tool      and mobile app
      If you prefer to view this reservation on TripCase.coim and have a TripCase account,
                                                                                            you may do so by farwarding this email to
          trips@tripcase.com or,          if
                                 your TripCase email address matches                       the
                                                                        one we have for this reservation, this trip will automatically appear
      in the "My Trips” section of your
                                        TripCase account.


      This        invoice was generated Friday, September 09, 2016 5:05 PM UTC. Agency Locator’                                       OXXECC




CONFIDENTIAL                                                                                                                                                           CAP_0025893
                     Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 10 of 27




                    PUTT TESS     Sees       see eM                SCELLANEOUS              SALES RECEIPT                   3     YETBLUE
                                                                              PURCHASER                                                    AIRWAYS
          JETBLUE           AIRWAYS                                                          RECEIPT                              "ALL  Mi SCELLANEOUS*
                                                                               16SEP46        21033806                     US
                                                                  LAK
                                                                                                                                       CHARGES ARE
                                                                                           (LOS    ANGELES
              KELLEY/BRYAN              D
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                "*                                                                   TICKET        2737860228428
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                       St      MINT         UPGRADE
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                                            Jon   ke        FP




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                                                                  eM    SCELLANEOUS                SALES RECEIPT                  6    JETBLUE     AIRWAYS
                    JETBLUE
                                                                                     PURCHASER      RECEIPT                            **ALL     MISCELLANEQUS*
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                                                                                                    21630041                     US
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                KELLEY/ BRYAN                D                                                                                               NON-REFUNDABLE          *

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CONFIDENTIAL                                                                                                                                          CAP_0025894
                            Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 11 of 27
        THE       HERTZ       CORPORATION                                                                                                        soe
           Phone:                800-654-4173                                                                                  Rental Agreement No:                            185076555
        Web:                    www    hhertz.com                                                                              Date:                                           03/16/2016
                                                                                                                               Document:                                       976002055830

           Direct       All Inquiries          To:                                  CHARGE   DETAIL               Renter:                        Personal Identifying Information
                 THE    HARTZ     CORPORATION                                                                     Account Now:
                 PO    BOX    26120                                                                               COP      No.:
                  OKLAHOMA      CITY,    OK    73126-0120                                                         CDE      Name:




                       MR  BRYAN D KELLEY
                        NOVAPUND   ADVISORS
                       17 OLD KINGS HWY
                       S   # 140
                        DARIEN,  CT 06820-4522



       RENTAL    REFRRENCE                                                                        RENTAL     DETAILS
       Rental Agreement Na:                   Personal Identifying                                Rate Plan;        IN: TMDD                              cUT:         TMDD
       Reservation ID;                                                                            Rented On;         09/15/2016                        12:02          LOctH        110215
                             Yraveler:
                                              Information
           Freguent                                                                                                               LOS ANGELES            AP,     CA

                                                                                                  Returned          On:           09/16/2016 12:07                    Loc#         110125
                                                                                                                                  LOS   ANGELRS          AP,     CA

                                                                                                  Car    Description:                             ROGUE    FWD         7TCN387
                                                                                                  Veh.   No.:                                        5297544
                                                                                                  CAR    CLASS           Charged:       F                  MILEAGE                 In;      9,371
                                                                                                                         Rented:        B4                                        Out:      9,230
                                                                                                                         Reserved:      F                                  Driven:              141


           MISCELLANEOUS                 INFORMATION                                              RENTAL             CHARGES
       CC       AUTH:         Q9089G     DATE: 2016/09/15          AMY:   293.900                 DAYS                                       1   @        44,92                      44,92
       cc       AUTH:        90893       DATR: 2016/09/16          AMT:   165.00                 SUBTOTAL                                                                            44.92
       CC       AUTH:                    DATE: 2016/09/15          AMT:    46.00                 DISCOUNT                                                 15.00%
                                                                                                  SUBTOTAL                                                                              38.14

                                                                                                  FUEL     PURCHASE            OPTION                                                39.72
                                                                                                  CONCESSION             t'E    RECOVERY                                              8.79
                                                                                                 CA     TOURISM       FEE                                                             1.34
                                                                                                  LICENSE       &    TAX  REXSMBURSEMENT                                                1.249
                                                                                                  CUSTOMER          FACILITY         CHARGE                                          10.00
                                                                                                  RETUEL    SALES          TAX                             3.75%                      1.43
       Gold            Pius Rewards Points                                                       TAX                                                       9.00%                      4.35
       Earned           this rental: 86



                                                                                                 TOTAL CHARGES                                                                     105.16        USB




       H-RETURN               RECEIPT
                                                                                                                            THANK YOU FOR               RENTING           FROM      HERTZ




      ALL        CHARGES       HAVE BEEN AILLED TO          YOUR   ACCOUNT.                                                Rental Agreement No:                       185076555
                                                                                                                           Date:                                      09/16/2016
                                                                                                                            Document:                                 976002055830

      Direct           All Inquiries          To:                                                                   Renter:                                    BRYAN           KELLEY
      THE        HERTZ CORPORATION                                                                                  Account No.:                           sherbet                               mc
      PO        HOX  26120
       OKTAHOMA          CITY,    OK     73126-0120
       UNITED          STATES




      Phone:
      Web:
                               800-654-4173
                                   her€z.com                                                            TOTAL
                                                                                                             ne     he
                                                                                                                     CHARGES
                                                                                                                                                 we                     pete     wane   105.16         usD

       OCAIAG                     Coon   Ge




CONFIDENTIAL                                                                                                                                                                                    CAP_0025895
                        Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 12 of 27


  Bryan D. Kelle

   From:                                                        reservations@hoytiivery.com
   Sent:                                                     Monday, September 19, 2016 8:29 AM
   To:                                                       David Bushing; Bryan D. Kelley

   Subject:                                                  Ride Receipt for Reservation# 298530




                                                                                  Hoyt Livery inc.
                                                                                     Cross Street
                                                                                    21
                                                                              New Canaan, CT 06840
                                                                    Phone:    203-966-5466 Fax: 203-801-2129
                                                                     Email:     reservations@hoytlivery.com
                                                                           Web:    www.hoytlivery.com


                                                                                    Ride Receipt

              ADVISORS          NOVAFUND                                                                           Account#       :     NOVAFUNDAD
                                                                                                                                  :

                   Old Kings Highway South                                                                         Invoice#
                         CT 06820                                                                                  Inv Date
              DARIEN,




                        Res#; 298530                 PU: 3 TIMBER LANE DARIEN CT 06820

                                                     Drop:   JFK 223 B6
         09/15/16
                         Pickup:        06:15AM Dropoff: 06:21AM Passenger: KELLEY,           BRYAN




                        Flat:                                                                           SEDAN                 $135.00

                        Req By: James                            Chauf:   MICHAEL

                        Wait      Time: -                                                        Wait      Chg:

                         Phone:     -       Mins                                                        Phone:


           Stops                                                                                         Stops:

                         ‘oucher#       :   298530
                                                                                                          Tolls:

                                                                                                Airport Fee:

                                                                                                      Gratuity:

                                                                                                      Discount:


                                                                                                      Deposit:



                                                                                                 Ride    Total:               $186.25

                        Paid By Credit Card MC
                    Personal Identifying Information                                 Trip Amount Due:                          $0.00




CONFIDENTIAL                                                                                                                                         CAP_0025896
                    Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 13 of 27


  Bryan D. Kelle

   From:                                                  reservations@hoytlivery.com
  Sent:                                               Monday, September 19, 2016 11:03 AM
  To:                                                 David Bushing; Bryan D. Ketley

   Subject:                                           Ride Receipt for Reservation# 298812




                                                                              Hoyt Livery Inc.
                                                                              21 Cross Street
                                                                           New Canaan, CT 06840
                                                             Phone: 203-966-5466 Fax: 203-801-2129
                                                              Email:     reservations@hoytlivery.com
                                                                    Web:          hoytlivery.com


                                                                             Ride Receipt

             ADVISORS   NOVAFUND                                                                             Account#        :     NOVAFUNDAD

            17 Old Kings Highway South
                                                                                                              Invcice#       :




                                                                                                             Inv Date
             DARIEN, CT 06820




                    Res#:     298812            PU: JFK 524 B6

                                                Drop: 3 TIMBER LANE DARIEN CT 06820
        09/16/16
                    Pickup: 10:30PM Dropoff: 10:39PM Passenger: KELLEY,                 BRYAN




                    Flat:                                                                        SEDAN                   $135.00

                    Req By:        BRYAN                  Chauf:   DAVID

                    Wait     Time: -                                                       Wait Cha:

                    Phone:     -       Mins                                                      Phone:

          Stops                                                                                     Stops:

                    oucher#        :   298812
                                                                                                    Tolls:

                                                                                          Airport     Fee:

                                                                                                Gratuity:

                                                                                             Discount:

                                                                                                Deposit:



                                                                                           Ride Total:                   $186.25


          Personal Identifying Information                                     Trip Amount Due:                           $0.00




CONFIDENTIAL                                                                                                                                    CAP_0025897
                  Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 14 of 27

                                                MONDRIAN
                                                       LOS        ANGELES



                                                                                                     Room      No.              4215
                                                                                                     Arrival                    09-15-16
Payee
    Personal Identifying Information                                                                 Departure                  09-16-16



                                                                                                     Confirmation No.           3393834

                                                                                                     Folio

Campany




 Date           Description                                                                                          Charges               Credits.

09-15-16       Room Charge                                                                                             539.00
09-15-16        Occupancy Tax                                                                                           83.55
 09-15-16      CA Assessment Fee                                                                                         2.59



                                                        Total                                                         625.14                  0.90



                                                        Balance                                                                 625.14




                                       We hope you enjoyed your experience at      MONDRIAN.


        8440 Sunset Boulevard West Hollywood, CA 90068 || Tel: 323-650-8998   ||   Fax: 323-650-5215 ||      www.mondrianhotel.com




CONFIDENTIAL                                                                                                                           CAP_0025898
                    Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 15 of 27




                             or   its   contents and is riat fesponsibie for
                                                                             fire, theft,
                                                                                 damage or loss. ABM
                             Parking Services Issuas this ticket as your                                                   rantury Peaza Towers
                                                                         contract and for
                     od      purposes only, Only a license to                              timekeeping
                             Created. This is nota clalm check.
                                                                  park is Qranled hereby no bailment
                                                                 Cars left over 30 days
                                                                                                             is           ZO CENTURY PARIC bat
                             at awner’s expense. This is                                may be impounded
                     «yp                                    your entire contract and no
                             EMbloyee may madify or waive any or its
                                                                                                     e                                    ANGELES,         SQund



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                                                                            terme. By your
                              acceptance af it you agree   to
                                                          all foregoing terms.              AVIRBAA.
                                                                                                       Services
                                                GEER      Toledo Ticket Co.,
                                                                             Toledo,    QH
                                                                                             Parking
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                    LAX    INTFRNATIONAL                            AIRPOGR7
             CHEEK:                         4637                                                                   fatty
                                                                                                                  MAN:
                                                                                                                                Tyne:
                                                                                                                      Personal Identifying
             TABLE:                                                                                                   Information
                                                                                                                  Amount: 30.48 US
             SERVER:                        4499 Beatriz
                                                                                                                   APPROVED
             DATE:                          SEP16°16
             CARD     TYPE:                  MASTERCARD
             ACCT     #:                 Personal Identifying Information                                         Gu      (ota                                     44

             AUTH     CUBE:
                                        BRYAN          KELLEY
                                                                                                                        ATT     Amuonts              iq   us,
             TOTAL:                                              36.175                                           Deliv.        Geateeer          el        Bary


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         1     AGRE:                    PAY       THE ABOVE                 AMCUNT
               ih                       WCE        WITP THE                   CARD
                       lu.                          AGREEWENT.




CONFIDENTIAL                                                                                                                                                            CAP_0025899
                                            Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 16 of 27




                                                                                                  Expense and Travel Report

                                          Name                  Bryan D. Keiiey                                                                                 From date              Tue., October 11, 2016
         Employee




                                 Positiondilie                      Principal                                                                                    To   dale             Sun., October 16, 2016
                           Social security              i#
                                                                                                                                                          Deal tocharge                |Capitalia
                                Telephone           #




       G




     & [Transportation
                      finel.    tax)
                                          oranarconpaniigramiymanber
                                                                                   Business purpose


                                  Expenses included costs for an accompanying family member

                                                                                   10/14
                                                                                   1,136.20
                                                                                                   10/42
                                                                                                                 _|Meeting with




                                                                                                                    10/13                             10/14
                                                                                                                                                            MUSA
                                                                                                                                                     Towers Watson, UPMC University

                                                                                                                                                                 lotes



                                                                                                                                                                          10/15           10/16
                                                                                                                                                                                                        of   Pittsburg




                                                                                                                                                                                                                           1521.70
                                                                                                                                       ‘|                                                                                     0.60

                                                                                                             |
       Auto rental, gasoline                                                                  |                                                                   |
                    pTaxi                                                            40.50           42.00                                                                                                                   82.50

                    [Holel                                                          405.38                                                                                                                                  405.38
                                                                                              I
  &                 [Valelaundry                                                                                                                                                                                              0.00

                      Telephone                                                                                                                                                                                               0.00

                     Other     (biz        ctr,   pay   fy, etc.)                                                                                                                                                             0.00

                                                                                                                                                        Total    NovaFund-paid travel expenses

                                                                breakfast                                                                                                                                                     6.09
                       Nova-paid meals for
                                                                                                                                                                                   +



                                                                      funch                                                                                                                                                  29.71
                                                                                                                                                 |                |                                 |
                       self if only (incl.
                                     (incl. tips)
                                             fips,
                                                                     dinner
                                   only
                                                                                                                                                         Total    NovaFund-paid meal expenses                               35.80




                                                                                                                                                 Re
                                                                                                                                                                         Persons   entertained
  Entertainment




                                                                                                                                                         Total NovaFund-paid               entertainment


                                                  Emptoyee-paid           item & purpose                                                                                 NovaFund-paid        item & purpose
                                                                                                                            Other Eastven-paia
   Employee-paid




                                          Total    employee-paid expenses                                                                               Total    NovaFund-paid            ofherexpenses


                    {Foreign currency                                 USD
  uy                fExchange arnount                                $1.00=




cose
Notes
   Signature
  Approval




evpensesincudad
CONFIDENTIAL                                                                                                                                                                                                             CAP_0025900
                       Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 17 of 27




       OVATION
            CORPORATE                            TRAVEL


      Thank you for choosing Ovation Corporate Travel.


      We value your input and welcome you te provide your feedback here.


           ravel Summary                      Agency Locator: VHIALW
           raveter
       KELLEY/SRYAN        D

       Reference number by traveler: Not Applicable

      Nate                 From/To            FiightUVendor                       DepartiArrive         ClassiType                  Status
       40/11/2016          LGA-PIT           AA 4199                              12:59 PM/02:33 PM      Economy                    Confinned
       10/12/2016          PIT-LGA           AA 4199                              03;30 PM/05:05 PM      Economy                    Confimied




      LaGuardia Airport Construction Notice
      Please note,.due to the canstruction at LaGuardia Airport you shouid allow for additional travel time due to road closures and    detours.
      Please see hitp:/Aaguardiaairport.com/travelacvisories/ for more information.



       ravel Assistance Contact Information
      For    travel assistance 24 hours a day, please cail your dedicated number at 646-582-1805.
      After     business hours, weekends and holidays, you will have the option to be transferred to our after hours travel team.
       0    reach Our after hours team directly in case of emergency, you may call 800-876-4922. Your access code is 18SB,


       ravel
                  aC               LE)


       IR -     Tuesday, October114 2076

               Airlines Flight AA4189 Economy Class
      American
      Depart:                          LaGuardia Airport, TERMINAL B
                                       New York, New York, United States
                                       12:59 PM Tuesday, October 11 2016
      Arrive:                          Pittspurgh Internalional Airport
                                        Pittsburgh, Pennsylvania, United States
                                      02:33 PM Tuesday, October 11 2016
      Duration:                       1hour(s) and 34 minute(s) Non-stop
     Status:                          Confirmed - American Airlines Booking Reference.   VHIALW
      Equipment:                      Embraer RJ145
      Operated       By:              TRANS STATES AS AMERICAN EAGLE
                                          OPERATED   BY TRANS STATES AS AMERICAN     EAGLE
     Seat:                            098    Confirmed
     FF Number:                Personal Identifying Information
                                      For additional information and check in, 24 hours in advance, ciick on the airline link betow.
                                            //www.aa.com/




CONFIDENTIAL                                                                                                                                       CAP_0025901
                        Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 18 of 27
       AIR     - Wednesday, October                          12 2016
        [American       Airlines Flight                            Economy Class
        Depart:                                      Pittsburgh International Airport
                                                      Pitisburgh, Pennsylvania, United        States
                                                     03:30 PM Wednesday, October 12 2016
       Arrive:                                   LaGuardia Airport, TERMINAL B
                                                  New York, New York, United States
                                                  05:05 PM Wednesday, October 12 2016
        Duration:                                1
                                                    hour(s) and 35 minute(s) Non-stop
        Status:                                  Confirmed - American Airlines Booking Reference: VHIALW
         Equipment:                              Embraer
        Operated       By:                       TRANS STATES AS AMERICAN EAGI.E
                                                     OPERATED     BY TRANS STATES AS AMERICAN                  EAGLE

       seat:                                         10B   Confirmed
      FF Number:                Personal Identifying Information
                                                     For additional!                       and check in, 24 hours in advance,      click    on the airtine link below.
                                                      http:/iwww.aa.com/




       frotal     invoiced Amount: $1,174.20 USD

       Transaction            Date: October 05, 2016
      Ticket information
      Ticket Number:                 0017867826363
       Amount:        $1,136.2
                                   Personal Identifying Information
       Form of Paymen


      This     ticket information applies to the following travel                               segment(s}:
      American        Airlines Flight 4199 from New York lo Pittsburgh on October 11
      American        Airlines Flight 4199 from Pittsburgh to New York on October 12




       Transaction            Date: October 05, 2016
      Service Fee Information
       Service       Fee Number:   8900695819638
       Service       Fee Amount: $38.00 USD
      Form of Payment: Personal Identifying                            Information
      Service Fee Description: Air Ticket



        nformation Specific to this Trip
              You have       purchased a       fully       refundable fare on American Airlines.




      Other Information and Remarks
              Please sign     up
                                   for trip     aferts at       www.ovationtravel.com/alerts.


          +
              Upgrades   that      incur additional fees          or charges are     not   eligible   for reimbursemenl, per company policy,


              Please reconfirm        all   flight times      prior to your departure.

          *   Please nolify us of any trip cancellation so your tickets may be refunded or logged for future                         use.



              Some   hotels may             impose   a penalty    for early   checkout.




       mportant Health Advisory
      (CDChas issued travel notices for people traveling                       to regions where Zika virus transmission is ongoing. For more          Information   please
      visit          //www,cde.gov/zika.




CONFIDENTIAL                                                                                                                                                                 CAP_0025902
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        Reservation management tool and mobile app
      lf you prefer tc view this reservation on TripCase.com and have a TripCase account, you may do so by forwarding this email to
                            if
        trips@tripcase,com or,    your TrinCase email address matches the one we have for this reservation, this trip will automatically appear
      in the "My
                   Trips" section of your TripCase account.


      This   invoice was generated Wednesday, October 05, 2016 8:08 PM UTC. Agency Locator: VHIALW




CONFIDENTIAL                                                                                                                                      CAP_0025903
                 Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 20 of 27


   Bryan D. Kelle

   Subject:                        Fairmont Hotel / conf: 115239728
   Location:                       510 Market Street

   Start:                          Tue   10/11/2016     3:00 PM
   End:                            Tue 10/11/2016 3:30 PM
   Show Time    As:                Tentative


   Recurrence:                      (none)


   Organizer:                      Jennifer   Gentry




   Confirmation       #                                             116239728
  First Name                                                      Bryan
  Last Name                                                      Kelley
  Arrival Date                                                   Tuesday, 17 Oct, 2076
  Departure Date                                                 Wednesday, 12 Oct, 2016
  Number Of Nights                                              1

  Number Of Adults                                              7

  Room Type to Charge                                           Deluxe Mt Washington KNS
  Rate Per Room Per Night                                       USD 339.00


   Cancellation       Policy                                    24 hours prior to arrival to avoid                     1


                                                       night penalty
   Cancellation       Date to Avoid Penalty                     Monday, 10 Oct, 2016
   Cancellation       Amount                                    USD 385.06
                                                                  Local Currency
                                                       The amaunt may be subject   to taxes,   gratuities, resort levy or
                                                       other fees




CONFIDENTIAL                                                                                                                CAP_0025904
                  Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 21 of 27
   Fairmont      Pittsburgh
   510 Market Street
   Pittsburgh,     Pennsylvania
   USA
   15222
   Tel +1 412 773 8800
   Fax +1 412 773 8810
   E-mail pittsburgh¢ fairmont.com



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   www suirmonteom      |   Privacy   Policy




CONFIDENTIAL                                                                            CAP_0025905
                                 Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 22 of 27



      Sairmon                                                                                 Room
                                                                                              Folio #
                                                                                                                                                               1709
                                                                                                                                                                   232292
          PITTSBURGH                                                                          Cashier#                                                         1869

                                                                                              Page #                                                           1    of   1
      §10 Market Street
         Pittsburgh,        PA     15222
      Phone:       +1       412-773-8800
      Fax:    +]        442-773-8810




      Mr Bryan Kelley                                                                         Arrival
      Unknown                                                                                 Departure                                          >
                                                                                                                                                                   40-12-16




      arr
      40-11-16
      10-11-16
                                 Description
                                 In-Room Video - interfaced

                              Package Charge
                                                                Su   Room# 1709
                                                                                          an
                                                                                   TV Services                                                                                            20,32
                                                                                                                                                                                        339.00

      40-11-16                Room Tax - State                                                                                                                                             19.74

      10-11-16                   Room Tax - Local                                                                                                                                            3.29

                            Room Tax - County Occupancy                                                                                                                                   23.03
      10-11-16
                         Personal Identifying Information                                                                                                                                                                               405.38
      10-42-16


                                                                                  Total                                                                                                 405.38                                          405.38


                                                                                  Balance Due                                                                                               6.00



                                                               Thank you far choosing     Fairmont Hotels &                               Resorts.

                   To provide           feedback about your stay please contact Matthew Sterne, General Manager, at                                                       matthew.sterne@fairmont.com.
                                                                                                             -
                       We   also       invite you to share memories of your experience on our community forum visit                                                      www.everyonesanoriginal.com.




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For   information or         reservations,    visit us at                                         aatyragas

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          falrmont.com or call Fairmont Hotels & Resarts from                                    Ovuadud        Gide            Sioliplet       lew aacsharge dl Ihe rate at        gar arcntts adler ane   migath         ODM   fier   ats



Uniled    States or Canada         1   800 441 1414



                                            Thank you for choosing to stay with Fairmont Hotels & Resorts




CONFIDENTIAL                                                                                                                                                                                                              CAP_0025906
               Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 23 of 27




                                        YELLOW         CAB

                                             CAB       #218

                                       tMti-lh
                                      {Aide
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                                      TOTAL




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                                     TOTAL            40,50                                                                                   « Pittsburgh,
                                            THANK         «WU


                                      (412)
                                                                                                                                                   Avenue
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                                                                                                                                                  Beaver




CONFIDENTIAL                                                                                                                                  CAP_0025907
dvVO                                                                                 TWILNACISNO9
                                           Cibo     Narket
                           LaGuardia        Airport        -
                                                               antral
                                           OTG     Management
                                                  Personal Identifying Information
                                  Master    Card                    17.78
                                            THANE       YOU!
                            We    want    to Sear       your    comments
                                 Please    cal?      1-869-508-3558
       Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 24 of 27
dvVO                                                                                          TWILNACISNO9
                                      welcome   to Dunkin’  Donuts
                                              Store #345772
                                        Market   Place. Pittsburgh
                             Phone:  442-281-3195
                             10/12/2016             AM
                             Eat             In
                         Order:                            068
                         Register:                               Tran   Seq   No:   2329068
                         Cashier         :Lina        P,
                         +
                                ham              44                                    3.59
                         1
                                Ht     Cof   MD       OrigBind                         2.10
                                Sub.     Total:                                      $5.69
                                Tax:                                                 $0.40
                               Total:                                                $6.09
                               Discount           Total:                             $0.00
                               Chance                                                $9.00
                               MasterCard:
       Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 25 of 27
Ol6SZ00    dVO                                                                                                                                                           TWILNACISNO9
   Bryan D. Kelle
   From:                                                              reservations@hoytlivery.com
   Sent:                                                              Thursday,      October     13, 2016 9:57           AM
   To:                                                                David    Bushing;    Bryan    D,   Kelley
   Subject:                                                           Ride    Receipt    for Reservation#         300328-2
                                                                                          Hoyt Livery Inc.
                                                                                          2t Cross Street
                                                                                      New Canaan, CT 06840
                                                                              Phone: 203-966-5466   Fax: 203-801-2129
                                                                               Email: reservations@hoytlivery.com
                                                                                     Web: www.hoytlivery.com
                                                                                                Ride Receipt
                                                                                                                                    Account#        :    NOVAFUNDAD
             ADVISORS         NOVAFUND
                                                                                                                                                    :
                                                                                                                                    Invoice#
                  Personal Identifying Information                                                                                  Inv Date
         Date                                                                                                                                                         Credits
                                                                        Description                                               [Charges
                      Resi:      300328-2                PU:    LGA    4199   AA
                                                         Drop                             Personal Identifying Information
     10/12/16
                      Pickup:            05:05PM         Dropoff:      06:26PM     Passenger:    KELLEY,    BRYAN
                      Flat:                                                                                           SEDAN
                      Req      By:           BRYAN                       Chauf:    TA)
                                                 -                                                                Wait    Chg:
                     Wait Time:
                                     -                                                                                Phone:
                      Phone:                 Mins
          Stops                                                                                                       Stops:
                    Voucher#             :    300328-2
                                                                                                                         Tolls:
                                                                                                              Airport      Fee:
                                                                                                                    Gratuity:
                                                                                                                  Discount:
                                                                                                                    Deposit:
                                                                                                               Ride      Totat:                $173.75
                                                                                                 Trip Amount             Due:                    $0.00
                          Personal Identifying Information
                        Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 26 of 27
LL6SZ00             dVO                                                                                                                                                                                    TWILNACISNO9
                           D.
          Bryan                 Kelley
          From:                                                       reservations@hoytlivery.com
          Sent:                                                       Friday,    October       07, 2016      10:50       AM
          To:                                                         David      Bushing;     Bryan    D,    Kelley
          Subject:                                                    Confirmation          Receipt    for Reservation#                 300328-1
                                                                                            Hoyt Livery Inc.
                                                                                            21 Cross Street
                                                                                        New Canaan, CT 06840
                                                                                Phone: 203-966-5466   Fax: 203-972-1227
                                                                                 Emalt: reservations@hoytlivery.com
                                                                                                                                                                                                                                     |
                                                                                       Web: www.hoytlivery.com
                                                                                 Reservation                   Confirmation
                                                                                                          AIRPORT
          Pickup       Date:     10/11/16    Tuesday           PickupTime:       10:00AM           Drop:                         Pax#:                         1                     “Chauf.:
          Rest:                 300328-1                       Start Time:                         End:                                     Veh       Type:     SEDAN                   Veh:
                                                                                                                                                               _
      :
          Passenger:            KELLEY,       BRYAN                                                           Pickup       Phone:       917-412-7972
      .   Caller:                BRYAN                                                                        Caller#:                                                                                                           i
                                                                                                                                        917-412-7972
      |Account:                  NOVAFUNDAD-NOVAFUND                                                          Pald    By:               Credit  Card         - MC
      |
    Pickup                                                                                                      Dropoff
  ‘Address:                                                                                                    Address:
  .       Street#/Name:                                                                                         Alrport:                         LA   GUARDIA          AIRPORT
                                          Personal Identifying Information
                                                                                                                Airline:                         AA     -               Airlines
                                                                                                                                                            American
  :
          AptiRoom#:
  |                                                                                                                                                                                                                              |
          Pickup       Point:                                                                                   Ftight#:                         4199  ETD: 12:59PM
  .       Address          Line2:                                                                               Destination         Info:        PIT - PITTSBURGH,                 PA
          Cross      Streets:                                                                                   Airport     Landmark:
                                                     CT 06820                                                                 Point:                                                                                         :
          City:                           DARIEN,                                                               Dropoff                                                                                                      ‘
          Pickup       Directions:                                                                              Dropoff       Directions:
  -
          Speciai         Instructions:
          Terms       &    Conditions:
                                                               Additional             for                                        etc.                        Final   charges   for      the          are determined   upon
          The prices        above    are estimates     only.                charges         stops, waiting   time,    parking,           may apply.                                           trip
  ‘ride           completion.
                                                                                                                                 OK
                                     Case 3:18-cv-01023-MPS Document 352-29 Filed 09/30/21 Page 27 of 27
